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FoR THE wEsTERN oisTRicT oF TENNEssEE §§ F,,.J,\, ,
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UN|TED STATES OF AIV|ER|CA

Plaintiff
VS.
CR. NO. 04-20048-[)
DERR|CK THOMPSON
Defendant.

 

ORDER ON CONT]NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a change of plea hearing on April 15, 2005. At that time,
counsel for the defendant requested a continuance of the hearing in order to allow for
additional preparation in the case.

The Court granted the request and reset the hearing to Wednesdav, June 1.
2005. at 1:00 D.m., in Courtroom 3. 9th Floor of the Federa| Building, |Vlemphis, TN.

The period from Apri| 15, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

iT is so oRoEREo this //"` day of May, 2005.

   

B N|CE B. ONALD
U |TED STATES D|STRICT JUDGE

This document entered on the docket enact in cr;)rnpiiance D

with Fiu|e 55 and/or 32(lo) FFlCrF’ on `r” V'/

sTlC COURT - WETERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 51 in
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Honorable Bernice Donald
US DISTRICT COURT

